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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,                           :

                             Plaintiff,             :

                      v.                            :       Case No.: 23-CR-00229 (CJN)

TAYLOR TARANTO,                                     :

                             Defendant.             :



                               NOTICE OF WITHDRAWAL

       The Office of the Federal Public Defender informs the Court that Assistant Federal

Public Defender Sonia Fleury is terminating her appearance as counsel.



                                            Respectfully submitted,
                                            A. J. KRAMER
                                            FEDERAL PUBLIC DEFENDER


                                                    /s/__________________
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